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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION


UNITED STATES OF AMERICA,


                 Plaintiff,

     v.                                  Case No. 1:21-cv-796-RP

THE STATE OF TEXAS,


                 Defendant.




          UNITED STATES’ EMERGENCY MOTION FOR A
   TEMPORARY RESTRAINING ORDER OR PRELIMINARY INJUNCTION
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  87th Leg., Reg. Sess. (Tex. 2021)
  (to be codified at Tex. Health & Safety Code §§ 171.203(b), 171.204(a)) (“S.B. 8”) ..................passim




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                                          INTRODUCTION

        The State of Texas adopted S.B. 81 to prevent women from exercising their constitutional

rights. Even though “a State may not prohibit any woman from making the ultimate decision to

terminate her pregnancy before viability,” Planned Parenthood of Se. Pa. v. Casey, 505 U.S. 833, 879 (1992),

Texas has banned abortions months before viability—at a time before many women even know they

are pregnant.

        When other States have enacted laws abridging reproductive rights to the extent that S.B. 8

does, courts have enjoined enforcement of the laws before they could take effect. In an effort to

avoid that result, Texas devised an unprecedented scheme that seeks to deny women and providers

the ability to challenge S.B. 8 in federal court. This attempt to shield a plainly unconstitutional law

from review cannot stand. The United States seeks a temporary restraining order or a preliminary

injunction enjoining the enforcement of S.B. 8. This relief is necessary to protect the constitutional

rights of women in Texas and the sovereign interest of the United States in ensuring that its States

respect the terms of the national compact. It is also necessary to protect federal agencies, employees,

and contractors whose lawful actions S.B. 8 purports to prohibit.

        Although S.B. 8 was designed to create jurisdictional obstacles to the ability of women and

providers to sue to protect their rights, those obstacles do not impede the relief sought through this

suit—an action brought by the United States against the State of Texas itself. The United States has

the authority and responsibility to ensure that Texas cannot insulate itself from judicial review for its

constitutional violations and to protect the important federal interests that S.B. 8 impairs. Accord-

ingly, this Court should enjoin enforcement of S.B. 8.

                                           BACKGROUND

I.      Legal Background

        Nearly fifty years ago, the Supreme Court held that the Constitution protects “a woman’s

decision whether or not to terminate her pregnancy.” Roe v. Wade, 410 U.S. 113, 153 (1973). Thirty

1
 Senate Bill No. 8, 87th Leg., Ch. 62 Reg. Sess. (Tex. 2021) (to be codified at Tex. Health & Safety
Code §§ 171.203(b), 171.204(a)).


                                                     1
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years ago, the Court in Casey “ ‘reaffirmed’ ‘the most central principle’” of Roe—“a woman’s right to

terminate her pregnancy before viability.” June Medical Servs. L.L.C. v. Russo, 140 S. Ct. 2103, 2135

(2020) (Roberts, C.J., concurring in the judgment) (quoting Casey, 505 U.S. at 871 (plurality op.)). Casey

also reaffirmed Roe’s “essential holding” recognizing the “right of the woman to choose to have an

abortion before viability and to obtain it without undue interference from the state, whose previability

interests are not strong enough to support an abortion prohibition or the imposition of substantial

obstacles to the woman’s effective right to elect the procedure.” Casey, 505 U.S. at 834. The Fifth

Circuit has likewise recognized that, “[i]n an unbroken line dating to Roe v. Wade, the Supreme Court’s
abortion cases have established (and affirmed, and re-affirmed) a woman’s right to choose an abortion

before viability.” Jackson Women’s Health Org. v. Dobbs, 945 F.3d 265, 269 (5th Cir. 2019), cert. granted,

No. 19-1392, 2021 WL 1951792 (U.S. May 17, 2021) (hereafter Jackson I). Indeed, the Fifth Circuit

declared invalid a law enacted by Mississippi that, like S.B. 8, imposed a near-total ban on abortions

after detection of a fetal heartbeat. Jackson Women’s Health Org. v. Dobbs, 951 F.3d 246, 248 (5th Cir.

2020) (hereafter Jackson II). Other courts have done the same.2

II.     Senate Bill 8

        On May 19, 2021, the State of Texas enacted S.B. 8, which effectively bans abortions per-

formed after cardiac activity has been detected in the embryo. Specifically, S.B. 8 provides that “a

physician may not knowingly perform or induce an abortion . . . if the physician detect[s] a fetal heart-

beat.” Tex. Health & Safety Code § 171.204(a). An ultrasound can typically detect cardiac activity


2
  See MKB Mgmt. Corp. v. Stenehjem, 795 F.3d 768, 772-73 (8th Cir. 2015) (affirming injunction against
North Dakota law that “generally prohibits abortions” after “fetal heartbeats are detectable” because
“there is no genuine dispute that” the law “generally prohibits abortions before viability” and “Su-
preme Court precedent hold[] that states may not prohibit pre-viability abortions”); Planned Parenthood
S. Atl. v. Wilson, No. 3:21-cv-508, 2021 WL 672406, at *2 (D.S.C. Feb. 19, 2021) (enjoining a similar
South Carolina law, noting that “courts have ‘universally’ invalidated laws that ban abortions beginning
at a gestational age prior to viability” and collecting cases); SisterSong Women of Color Reprod. Just. Collective
v. Kemp, 472 F. Supp. 3d 1297, 1306 (N.D. Ga. 2020) (enjoining Georgia law that “prohibits abortions
once” a fetus “has been determined to have a ‘detectable human heartbeat.’”); Preterm-Cleveland v. Yost,
394 F. Supp. 3d 796, 803 (S.D. Ohio 2019) (Ohio law prohibiting abortions when the fetus has de-
tectable cardiac activity “places an ‘undue burden’ on a woman’s right to choose a pre-viability abor-
tion.”).


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beginning at approximately six weeks of pregnancy, as measured from the first day of a patient’s last

menstrual period. See Decl. of Allison Gilbert, M.D. (Ex. A.) (“Gilbert Decl.”) ¶ 17; Whole Woman’s

Health v. Jackson, No. 1:21-CV-616-RP, 2021 WL 3821062, at *2 n.3 (W.D. Tex. Aug. 25, 2021). S.B.

8 contains no exceptions for pregnancies that result from rape, sexual abuse, or incest, or for cases

involving serious fetal anomalies, including those incompatible with life after birth. The law includes

only an exception for “a medical emergency . . . that prevents compliance” with the law. Tex. Health

& Safety Code § 171.205(a).

        Texas designed S.B. 8 with the specific objective of evading judicial review of its unconstitu-
tional provisions, as its architects have made clear. For example, Texas State Senator Bryan Hughes,

one of the principal architects of S.B. 8, lauded the statute’s “very elegant use of the judicial system”3

and acknowledged that S.B. 8’s structure was intended to avoid the fate of other “heartbeat” bills that

have been struck down as unconstitutional.4 An attorney who participated in drafting the legislation

described it as an effort to “counter the judiciary’s constitutional pronouncements.”5 And the legisla-

tive director of Texas Right to Life stated that one of the “main motivations” for S.B. 8’s design was

a desire to stymie judicial review.6

        Because any state official responsible for enforcing an unconstitutional state law could be sued


3
  Jenna Greene, “Column: Crafty lawyering on Texas abortion bill withstood SCOTUS challenge,”
Reuters (Sept. 5, 2021, 1:52 p.m.), attached as Exhibit A to Declaration of Newman, https://reu-
ters.com/legal/government/crafty-lawyering-texas-abortion-bill-withstood-scotus-challenge-greene-
2021-09-05/.
4
  Jacob Gershman, “Behind Texas Abortion Law, an Attorney’s Unusual Enforcement Idea,” The
Wall Street Journal (Sept. 4, 2021, 9:38 a.m.), attached as Exhibit B to the Newman Decl.,
https://www.wsj.com/articles/behind-texas-abortion-law-an-attorneys-unusual-enforcement-idea-
11630762683 (quoting Sen. Hughes as stating “We were going to find a way to pass a heartbeat bill
that was going to be upheld.”).
5
  Michael S. Schmidt, “Behind the Texas Abortion Law, a Persevering Conservative Lawyer,” N.Y.
Times (Sept. 12, 2021), attached as Exhibit C to the Newman Decl., https://www.ny-
times.com/2021/09/12/us/politics/texas-abortion-lawyer-jonathan-mitchell.html.
6
  Emma Green, “What Texas Abortion Foes Want Next,” The Atlantic (Sept. 2, 2021), attached as
Exhibit D to the Newman Decl., https://www.theatlantic.com/politics/archive/2021/09/texas-
abortion-ban-supreme-court/619953/ (asserting that S.B. 8 was crafted out of “frustrat[ion]” with
courts that “block[] pro-life laws because they think they violate the Constitution or pose undue bur-
dens”).


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for pre-enforcement injunctive relief under Ex parte Young, 209 U.S. 123 (1908), S.B. 8 purports to

withdraw enforcement responsibilities from the State’s executive and administrative officers and em-

ployees. See Tex. Health & Safety Code § 171.207(a) (“No enforcement of this subchapter . . . may be

taken or threatened by this state, a political subdivision, a district or county attorney, or an executive

or administrative officer or employee of this state or a political subdivision against any person, except

as provided in Section 171.208.”). Instead, Texas chose to rely on private persons to enforce S.B. 8

through the Texas judicial system. S.B. 8 creates a civil action that allows “[a]ny person, other than

an officer or employee of a state or local governmental entity in this state,” to enforce S.B. 8 by filing
a lawsuit in state court. Id. § 171.208(a). Such civil claims may be brought against any person who

performs a prohibited abortion, anyone who “knowingly engages in conduct that aids or abets” the

performance of a prohibited abortion, and even anyone who “intends” to perform or aid a prohibited

abortion. Id. § 171.208(a)(1)-(3). There is no requirement that the private enforcer have any connec-

tion to or injury from the abortion or the aiding and abetting of it. Under the statute, aiding and

abetting includes “paying for or reimbursing the costs of an abortion through insurance or otherwise.”

Id. § 171.208(a)(2). A successful claimant can obtain an injunction “sufficient to prevent the defendant

from violating” S.B. 8, and is further entitled to at least $10,000 in “statutory damages” for each abor-

tion the defendant has performed, aided, or abetted. Id. § 171.208(b). S.B. 8 also contains a one-way

fee-shifting provision that allows successful plaintiffs to recover their costs and attorney’s fees, but

forbids defendants sued under S.B. 8 from recovering their fees and costs. Id. §§ 171.208(b)(3),

171.208(i).
        Where an S.B. 8 enforcement action is brought, the statute purports to further limit the avail-

able defenses. In particular, it is no defense to rely “on any court decision that has been overruled on

appeal or by a subsequent court, even if that court decision had not been overruled when the defend-

ant engaged in [the] conduct,” or to rely “on any state or federal court decision that is not binding on

the court in which the action has been brought.” Id. § 171.208(e)(2)-(4).

        Although binding precedent establishes that any prohibition on pre-viability abortion is un-

constitutional, see Casey, 505 U.S. at 846, S.B. 8 contains a defense based on a narrow and distorted


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version of the “undue burden” test that applies to regulations, rather than prohibitions, of pre-viability

abortions. Under S.B. 8, that defense may be invoked only by a defendant who “has standing to assert

the third-party rights of a woman or group of women seeking an abortion,” and it applies only if “the

defendant demonstrates that the relief sought by the claimant will impose an undue burden on that

woman or that group of women seeking an abortion.” Tex. Health & Safety Code § 171.209(b). To

make the required “undue burden” demonstration, the defendant must “introduce[] evidence proving

that: (1) an award of relief will prevent a woman or a group of women from obtaining an abortion; or

(2) an award of relief will place a substantial obstacle in the path of a woman or a group of women
who are seeking an abortion.” Id. § 171.209(c). An undue burden cannot be established by relying on

the law’s effects on other providers and alleged aiders and abettors—i.e., by “merely demonstrating

that an award of relief will prevent women from obtaining support or assistance, financial or other-

wise, from others in their effort to obtain an abortion,” or that “an award of relief against other de-

fendants or other potential defendants will impose an undue burden on women seeking an abortion.”

Id. § 171.209(d). And even this limited “undue burden” defense may be retroactively revoked, to the

extent the Supreme Court overrules its past decisions. Id. § 171.209(e).

        Stepping back, the clear intent of S.B. 8’s provisions is to deprive women of their constitutional

rights while simultaneously preventing any court from enjoining the statute’s enforcement. The law

uses the threat of civil liability to cut off the supply of post-six-week abortions in the State. It creates

a widespread class of potential plaintiffs who might file harassing lawsuits, stacks the decks of such

suits in favor of the plaintiffs—through the one-way fee-shifting system and the systematic limitation
of affirmative defenses—and extends liability to anyone who plays a role in facilitating a prohibited

abortion. Thus far, the statute has had the desired effect of deterring abortion providers from offering

virtually any abortions. See infra pp. 7-12. So long as providers are chilled from performing, inducing,

or attempting these newly prohibited abortions in Texas, state courts will not have occasion to rule

on the constitutionality of the statute in an enforcement proceeding. And even if individual providers

decide to reinstate their services, they could at most prevail in an enforcement dispute against a single

private plaintiff, leaving other providers in legal limbo.


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        Normally, a statute that so successfully stripped a state’s citizens of their constitutional rights

would fall victim to a slew of pre-enforcement challenges. But Texas has sought to save S.B. 8 from

that fate by washing its hands of responsibility for enforcing the law. By purporting to deprive indi-

vidual plaintiffs of state officials to sue, and then leveraging the interplay of the doctrines of standing

and sovereign immunity, Texas has endeavored to stymie anyone who challenges the law in court. As

outlined below, the State’s brazen gambit has thus far paid off.

III.    Procedural History: Other Relevant Lawsuits

        Given the clear constitutional violation at its core, S.B. 8 naturally prompted legal challenges
prior to its effective date. But because of the State’s efforts to impede federal judicial review, the other

actions have been beset by procedural complications. Most notably, a group of abortion providers

and other advocates who support patients in need of an abortion challenged S.B. 8 before this Court

in Whole Woman’s Health v. Jackson, No. 1:21-CV-616-RP (W.D. Tex.). They filed suit against a state

court judge and a county clerk (in their official capacities and as class representatives for such state

officials), against various Texas executive officials in their official capacities, and against an individual

who previously expressed his intent to bring enforcement actions under S.B. 8. See Whole Woman’s

Health, 2021 WL 3821062, at *6.

        After this Court rejected the Texas officials’ motion to dismiss, see id. at *8-23, the defendants

took an immediate appeal to the Fifth Circuit, which stayed this Court’s proceedings, including a

scheduled preliminary injunction hearing, and declined to enter its own injunction pending appeal. See

Whole Woman’s Health v. Jackson, No. 21-50792 (5th Cir. 2021).
        On September 1, 2021, the Supreme Court denied the plaintiffs’ emergency application for an

injunction pending appeal, over the dissent of four Justices. See Whole Woman’s Health v. Jackson, No.

21A24, --- S. Ct. ---, 2021 WL 3910722 (Sept. 1, 2021). The Court’s order noted that the plaintiffs

had “raised serious questions regarding the constitutionality of the Texas law at issue,” but denied

relief, finding that the plaintiffs had not “carried their burden” as to the “complex and novel anteced-

ent procedural questions.” Id. at *1. For example, the majority found it unclear whether “state judges




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asked to decide a lawsuit under Texas’s law” could be enjoined under Ex parte Young if the law is

unconstitutional. Id.

        In dissent, Chief Justice Roberts noted that “[t]he statutory scheme before the Court is not

only unusual, but unprecedented,” because “[t]he legislature has imposed a prohibition on abortions

after roughly six weeks, and then essentially delegated enforcement of that prohibition to the populace

at large,” with the “desired consequence appear[ing] to be to insulate the State from responsibility for

implementing and enforcing the regulatory regime.” Id. The Chief Justice stated that he “would grant

preliminary relief to preserve the status quo ante—before the law went into effect—so that the courts
may consider whether a state can avoid responsibility for its laws in such a manner.” Id. at *2. Justices

Breyer, Sotomayor, and Kagan each wrote a dissenting opinion, noting the need to preserve judicial

review in the face of S.B. 8’s unusual enforcement regime. See id. at *3-5.

        On September 10, 2021, the Fifth Circuit denied the plaintiffs’ motion to dismiss the private

defendant’s appeal, stayed all district court proceedings in Whole Woman’s Health pending appeal, and

expedited the appeal. Whole Woman’s Health v. Jackson, No. 21-50792, 2021 WL 4128951(5th Cir. Sept.

10, 2021).

IV.     IMPACTS OF S.B. 8 ON PATIENTS

        Amidst the flurry of legal challenges, S.B. 8 took effect on September 1, 2021. The devastating

effects warned of in the pre-enforcement litigation immediately became a reality for patients and pro-

viders in Texas. See Whole Woman’s Health v. Jackson, No. 1:21-CV-616-RP (W.D. Tex.). S.B. 8 has

gravely and irreparably impaired women’s ability to exercise their constitutional right to an abortion
across the State. Gilbert Decl. ¶¶ 25-27. Due to the prospect of ruinous liability for clinics and

providers, beginning September 1, abortion providers in Texas ceased providing abortions after six

weeks, absent a medical emergency, which likely amounts to between 85 and 95% of all abortions

previously provided. Decl. of Amy Hagstrom Miller (Ex. 3) (“Hagstrom Decl.”) ¶ 11; Gilbert Decl.

¶ 13; Decl. of Melaney A. Linton (Ex. 4) (“Linton Decl.”) ¶¶ 13, 21. One Planned Parenthood affiliate

provided 205 abortions in the week before S.B. 8 went into effect and only 52 abortions in the week

after the law went into effect. Linton Decl. ¶¶ 25-26. Because all providers in Texas are adhering to


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S.B. 8, Linton Decl. ¶ 17; Hagstrom Decl. ¶ 30, the vast majority of women seeking abortions in Texas

are being turned away. Hagstrom Decl. ¶ 15. All the while, clinics in neighboring states are receiving

panicked calls from patients in Texas and continue to see “large increases in minor patients, survivors

of sexual assault, patients with a maternal or fetal diagnosis, and patients with later gestational ages.”

Decl. of Rebecca Tong (Ex. 5) (“Tong Decl.”) ¶ 29.

        Some women with the ability to travel are forced to seek treatment options in Oklahoma,

Kansas, New Mexico, and Colorado where abortion providers have been overwhelmed with Texas

residents unable to obtain abortions in Texas. Decl. of Vicki Cowart (Ex. 6) (“Cowart Decl.”) ¶¶ 8,
13, 18; Decl. of Anna Rupani (Ex. 7) (“Rupani Decl.”) ¶ 22. Women are being forced to travel hun-

dreds—and sometimes thousands—of miles to obtain an abortion under harrowing circumstances in

the middle of a COVID surge. Tong Decl. ¶ 21; Gilbert Decl. ¶ 38 (complications wrought by

COVID); Rupani Decl. ¶ 22; Cowart Decl. ¶¶ 9, 19. One patient “got in her car at midnight in Texas

so that she could drive through the night and make it to Oklahoma in the morning for her abortion

appointment, and then she had to turn around the same day to travel back to Texas.” Decl. of Joshua

Yap, M.D., MPH, AAHIVS (Ex. 8) (“Yap Decl.”) ¶19; Rupani Decl. ¶ 26 (patient “piled her children

into her car and drove over 15 hours overnight to obtain a medication abortion”). Patients from

Texas are traveling sometimes five to eight hours each way to get to a health center in Oklahoma, Yap

Decl. ¶ 20, and on average patients are traveling 650 miles each way to reach abortion clinics in the

southwest, Cowart Decl. ¶ 9 (detailing trips of 790 miles, 930 miles, 1000 miles each way). One minor,

who was raped by a family member, traveled eight hours from Galveston to Oklahoma to get an
abortion, Yap. Decl. ¶ 22, and other survivors of sexual assault have to bear the additional burden of

taking time off work and arranging childcare because abortions are not available in Texas, Yap. Decl.

¶ 23; Linton Decl. ¶ 31. Another patient facing violence at the hands of her husband is “discreetly

attempting to leave Texas without her husband finding out,” and is “desperate” and “selling personal

items” to scrape together the funds needed for an out-of-state abortion. Cowart Decl. ¶ 10. Another

“patient traveled six hours (one way) to get to Oklahoma and said she drove alone because she was

worried” that asking someone to “accompany her” would subject that person to liability under S.B. 8.


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Yap Decl. ¶ 19; Gilbert Decl. ¶ 46. In one day, one patient drove a 1000 mile round trip alone “because

she didn’t have paid time off work and couldn’t afford” to miss her shift. Cowart Decl. ¶ 12.

        Lengthy trip times have caused women to miss hard-to-obtain appointments, stitch together

transportation from others, ride-shares, buses, and planes; obtain overnight accommodation that

women often cannot afford; and solicit additional childcare for their family. Yap. Decl. ¶ 21; Gilbert

Decl. ¶ 38; Rupani Decl. ¶¶ 16-17, 22; Cowart Decl. ¶¶ 10-12. The law is also “having a particularly

burdensome effect on minors who need a judicial bypass,” Linton Decl. ¶ 30; Hagstrom Decl. ¶ 33;

and on those who are homeless, Linton Decl. ¶ 31. The waiting times and logistical hurdles inherent
in traversing multiple states to get an abortion have made it such that some women are no longer

eligible for a medication abortion and instead are subjected to more invasive procedural abortions.

Yap Decl. ¶18; Tong Decl. ¶ 25; Gilbert Decl. ¶ 47. One provider’s on-the-ground account describes

the dire state of affairs:
        What I have seen unfold since S.B. 8 took effect has been absolutely devastating. The
        patients that are able to make it to Oklahoma to get their abortion are having to make
        substantial sacrifices and overcome numerous obstacles, including struggling to come
        up with the funds to make the trip to Oklahoma. They are also scared that someone
        may find out that they had an abortion when they go back home to Texas and are
        unsure of what could happen to them under S.B. 8. Those patients who are seeking
        abortions in the context of intimate partner violence or other family violence are risk-
        ing more than they already do in order to travel out of state to end their unwanted
        pregnancies. People are also worried about having to travel long distances in the mid-
        dle of a pandemic and what that could mean for the health and safety of themselves
        and their families. And I too fear that this increased travel puts myself, our staff, and
        our patients at greater risk of contracting COVID-19. I also know that we are seeing
        only a fraction of the people in Texas who are seeking to have an abortion, with some
        finding care in other states and others who simply cannot travel out of state or are
        afraid to do so. I fear that many people, especially those with the fewest resources, will
        not be able to obtain safe abortion care at all and will either seek to terminate their
        pregnancies themselves outside the medical system, or be forced to carry unwanted
        pregnancies to term.
Yap Decl. ¶¶ 26-27.

        Though some women may be able to scrape together the necessary resources to travel out of

state, the reality in Texas is that a majority of patients simply will “not be able to travel out of state to

obtain an abortion due to their work, school, family, or childcare responsibilities and the high costs.”



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Hagstrom Decl. ¶ 32; Rupani Decl. ¶ 18. For example, some women facing immigration-related re-

strictions are unable to travel out of the Rio Grande Valley to obtain abortions. Hagstrom Decl. ¶ 14;

Gilbert Decl. ¶ 45. These obstacles will make it such that “[t]he majority of pregnant Texans who

want an abortion will be forced to carry those pregnancies to term and face the risks—medical and

financial—attendant with childbirth.” Hagstrom Decl. ¶ 32. The effects on patients forced to carry

a pregnancy to term can be serious. Women face “debilitating physical symptoms,” an increased risk

that “abusive partners or family members” will discover a pregnancy, higher costs and medical risks

that increase with gestational age, and “the life-altering consequences of having to go through child-
birth against their will.” Hagstrom Decl. ¶ 36; Tong Decl. ¶ 25; Gilbert Decl. ¶ 31. For women who

are able to travel out of state, time-sensitive appointments are now severely delayed for three weeks

or more because of the demand. Tong Decl. ¶ 13 (appointments previously available within a few

days now booking three weeks out); Rupani Decl. ¶¶ 23, 26; Cowart Decl. ¶ 14; Yap Decl. ¶ 5.

       Not only has S.B. 8 imperiled the rights of Texas residents; it has had an extreme impact on

the rights of women in other states, including in Oklahoma, Kansas, Colorado, Nevada, and New

Mexico. Since S.B. 8 took effect, clinics in Tulsa and Oklahoma City have “seen an overall staggering

646% increase of Texan patients” as compared to the first six months of the year. Yap Decl. ¶¶ 14-

16. One provider there described the “surge of Texas patients” who are “scared and frantically trying

to get appointments” in a state outside of Texas. Yap Decl. ¶ 13. Texas residents are claiming between

50% and 75% of appointments available at Planned Parenthood’s Oklahoma health centers, causing

women in Oklahoma to face scheduling backlogs of several weeks. Yap Decl. ¶¶ 15, 17; Tong Decl.
¶ 11 (two-thirds of patient calls in Oklahoma City coming from Texas); id. ¶ 20 (half of calls from

patients in Texas); Cowart Decl. ¶ 8 (53% of monthly patient volume from Texas in one week). Some

clinics in neighboring states do not have “the capacity to accommodate large numbers of out-of-state

patients” in addition to the communities they already serve, Tong Decl. ¶ 31; Cowart Decl. ¶¶ 17-18.

By way of comparison, in 2020 there were 55,966 abortions performed in Texas on Texas residents,

10,368 abortions performed in Colorado, and 2,735 abortions performed in New Mexico. Cowart

Decl. ¶ 18. “[T]here is simply no way” that out-of-state clinics can “increase capacity by that sort of


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magnitude” to absorb the influx of Texas patients. Cowart Decl. ¶ 18. To make matters worse, clinics

are finding it nearly impossible to hire additional doctors and support staff given the current threats

from S.B. 8 layered atop the challenges of hiring in a pandemic, Tong Decl. ¶ 32; Cowart Decl. ¶ 19.

        In addition to the effects on patients, S.B. 8 has emboldened vigilante activities against pro-

viders and staff, including “relentless harassment,” Linton Decl. ¶ 36; “trespassing; conducting drone

surveillance; blocking roads, driveways, and entrances; yelling at staff and patients; using illegal sound

amplification; video recording staff, staff vehicles, and license plates, as well as surreptitiously record-

ing inside the health center; [and] trying to follow staff home.” Linton Decl. ¶ 37. The threat of
lawsuits began almost immediately after S.B. 8 was signed into law, including from vigilantes who

snuck into a clinic to encourage individuals to report violations of S.B. 8, and attempted to slow down,

harass, and intimidate women who were seeking an abortion on the evening before S.B. 8 went into

effect. Hagstrom Decl. ¶¶ 44-46; Gilbert Decl. ¶ 44 (dramatic increase in the number of protesters

and threatening phone calls). This harassment continued on Reddit forums discussing how individuals

could turn in doctors and messages to one doctor threatening murder. Linton Decl. ¶ 37.

        In addition, many physician providers, including those who are licensed in multiple states, now

fear that lawsuits under S.B. 8 “might trigger investigations and other repercussions, including loss of

licensure, that will follow these professionals for the rest of their careers, even if they choose to prac-

tice outside Texas.” Hagstrom Decl. ¶ 40. For more physicians and staff, the risk of ruinous liability

makes it such that “the risk [is] too great to even come to work.” Hagstrom Decl. ¶ 41; Gilbert Decl.

¶ 40 (describing the “catastrophic” effect of S.B. 8); Gilbert Decl. ¶¶ 50-52 To take one example, at
Whole Woman’s Health, which currently has 17 physicians on staff at its Texas clinics, only one phy-

sician has unconditionally agreed to work after September 1. Hagstrom Decl. ¶¶ 38-41 (losing one

staff member a week); Gilbert Decl. ¶ 41 (only two of eight physicians providing care); Linton Decl.

¶ 39 (prospective staff declined job offers because of S.B. 8).

        Thus, S.B. 8 has effectively deterred providers from performing any abortions that would vi-

olate its terms. The continued shutdown of Texas clinics may have the effect of closing some abortion

clinics for good. Hagstrom Decl. ¶¶ 22, 42. Without court ordered relief, Whole Woman’s Health


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“will have to shutter [its] doors and stop providing any healthcare to the communities” it serves.

Hagstrom Decl. ¶ 42; Gilbert Decl. ¶¶ 43, 53 (Southwestern clinic in Dallas).

        The continued applicability of an unquestionably unconstitutional law to patients in Texas

presents more than a theoretical question about the viability of abortion rights. The constitutional

right to a pre-viability abortion guaranteed by Roe and Casey rings hollow every day for many women

in Texas—some who must travel great lengths to obtain an abortion and for others who cannot and

may have to carry a pregnancy to term or dangerously take matters into their own hands.

                                       STANDARD OF REVIEW
        A court may enter a temporary restraining order or a preliminary injunction as a means of

preventing harm to the movant before the court can fully adjudicate the claims in dispute. Fed. R.

Civ. P. 65(a), (b). The movant seeking either form of relief bears the burden to establish that (1) it is

likely to succeed on the merits of its case; (2) it is likely to suffer irreparable harm in the absence of

injunctive relief; (3) the balance of the equities tips in its favor; and (4) an injunction would be in the

public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008); see also Bluefield Water Ass’n v.

City of Starkville, 577 F.3d 250, 252-53 (5th Cir. 2009). When the Federal Government is a party, the

last two factors merge. See Nken v. Holder, 556 U.S. 418, 435 (2009).

                                               ARGUMENT

        The United States satisfies all requirements necessary for a temporary restraining order and

preliminary injunction. Under settled principles of constitutional law, the United States has “a sub-

stantial likelihood that [it] will prevail on the merits[.]” Bluefield, 577 F.3d at 252-53. Unless enforce-

ment of S.B. 8 is enjoined, the United States will be injured by Texas’s attempt to circumvent its

obligations under the Federal Constitution by thwarting mechanisms of judicial review provided by

federal law, as well as by S.B. 8’s effect on the operations of the Federal Government. Those threat-

ened injuries to the sovereign interests of the United States outweigh any conceivable harm that Texas

could claim were this Court to enjoin enforcement of a clearly unconstitutional law.




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I.      THE UNITED STATES IS LIKELY TO SUCCEED ON THE MERITS

        The United States is likely to succeed on the merits because S.B. 8 was enacted in violation of

the Fourteenth Amendment and the Supremacy Clause. The United States has the authority to seek

redress from this Court against the State of Texas, particularly in light of the procedural obstacles that

Texas erected to shield S.B. 8 from judicial scrutiny in suits by directly affected persons.
        A. S.B. 8 Violates the Federal Constitution.
        Under the Supremacy Clause, the United States Constitution “shall be the supreme Law of the

Land; and the Judges in every State shall be bound thereby, any Thing in the Constitution or Laws of

any State to the Contrary notwithstanding.” U.S. Const. art. VI, cl. 2; see also Va. Uranium, Inc. v.
Warren, 139 S. Ct. 1894, 1901 (2019) (noting that the Constitution itself displaces inconsistent state

laws). It is well-settled that the Fourteenth Amendment prevents states from banning abortion before

a fetus is viable. Because S.B. 8 has that effect, it is plainly unconstitutional under binding precedent.

Moreover, pursuant to the doctrines of preemption and intergovernmental immunity, “states have no

power . . . to retard, impede, burden, or in any manner control the operations of the constitutional

laws enacted by [C]ongress to carry into effect the powers vested in the national government.” M’Cul-

loch v. Maryland, 17 U.S. 316, 317 (1819); see also Mayo v. United States, 319 U.S. 441, 445 (1943). S.B. 8

impermissibly regulates the Federal Government in a number of different contexts and poses unlawful

obstacles to the accomplishment of federal objectives.

                1. S.B. 8 Violates the Fourteenth Amendment and the Supremacy Clause.

        There can be no dispute that S.B. 8 is contrary to the decades of precedent prohibiting states
from banning abortions before fetal viability. See supra pp. 1-2. The Act prohibits any “abortion on a

pregnant woman if the physician detected a fetal heartbeat,” Tex. Health & Safety Code § 171.204(a),

with only a limited exception for “medical emergenc[ies]” that prohibit compliance with the Act, id.

§ 171.205. A “fetal heartbeat” can be detected months before viability. See id. § 171.201(1); see also

Jackson II, 951 F.3d at 248 (per curium). Indeed, before the Supreme Court, Texas did not even at-

tempt to defend the constitutionality of S.B. 8 on the merits. See Whole Woman’s Health v. Jackson, 2021

WL 3910722, at *3 (Sotomayor, J., dissenting) (“The Act is clearly unconstitutional under existing


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precedents. The respondents do not even try to argue otherwise. Nor could they: No federal appellate

court has upheld such a comprehensive prohibition on abortions before viability under current law.”

(citations omitted)). Accordingly, S.B. 8 is an affront to the Fourteenth Amendment of the U.S. Con-

stitution.

        That affront is deepened by the extraordinary procedural mechanisms Texas has designed to

prevent women from vindicating their Fourteenth Amendment rights. S.B. 8 denies the individuals

whose constitutional rights are violated a mechanism by which they can protect those rights in court.

And by delegating enforcement authority to private bounty hunters, the statute ensures that the only
way providers may challenge the constitutionality of S.B. 8 is by performing abortions prohibited by

the law and risking ruinous penalties—a prospect that has succeeded in its intended goal of chilling

the prohibited activity altogether. See supra pp. 7-12. The Act’s design thus converts an already severe

intrusion on constitutionally protected rights into an effective blockade of those rights. That scheme

is plainly irreconcilable with the Fourteenth Amendment, and amounts to an unprecedented and im-

permissible attempt to circumvent the supremacy of the U.S. Constitution itself. Cf. Haywood v. Drown,

556 U.S. 729, 742 & n.9 (2009) (explaining that “the Supremacy Clause cannot be evaded by formal-

ism,” as a “contrary conclusion . . . would provide a roadmap for States wishing to circumvent our

prior decisions”); Howlett By and Through Howlett v. Rose, 496 U.S. 356, 383 (1990) (“The force of the

Supremacy Clause is not so weak” that a state may “overrule our [prior] decision” by selectively with-

holding jurisdiction). It also subverts the mechanisms Congress designed—42 U.S.C. § 1983 and the

Declaratory Judgment Act—to ensure that plaintiffs may bring suit to challenge and enjoin unconsti-
tutional laws before they are enforced. See Felder v. Casey, 487 U.S. 131, 138 (1988); MedImmune, Inc. v.

Genentech, Inc., 549 U.S. 118, 128-29 (2007).

        S.B. 8’s “undue burden” affirmative defense does not cause the statute to satisfy Casey. Under

Casey, the undue burden standard applies to laws that regulate, but do not prohibit, pre-viability abor-

tion; if such laws impose an “undue burden” on a woman’s right to obtain an abortion before viability,

they violate the Fourteenth Amendment. 505 U.S. at 846. Casey made plain that the undue-burden

standard “does not disturb the central holding of Roe”: “[A] State may not prohibit any woman from


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making the ultimate decision to terminate her pregnancy before viability.” Id. at 879 (plurality op.).

Thus, a ban like S.B. 8 is unconstitutional without regard to an undue burden analysis.

        In any event, S.B. 8’s “undue burden” defense is available—at best—only to those sued in

relation to those abortions performed despite S.B. 8; it does nothing for women who cannot obtain

an abortion because doctors who might perform the procedure or organizations that might fund it

decline to do so due to the threat of a civil lawsuit under S.B. 8. Many providers may understandably

forgo performing abortions rather than risk the significant monetary penalties—and the certain, un-

recoverable legal fees, see Tex. Health & Safety Code § 171.208(i)—provided for under S.B. 8. Hag-
strom Decl. ¶¶ 27-29; Gilbert Decl. ¶¶ 51-52. The effect of S.B. 8 is to dismantle the network of

providers so that women seeking an abortion cannot get one. That outcome itself imposes an undue

burden on women’s rights.

        Moreover, S.B. 8’s affirmative defense bears no resemblance to the “undue burden” standard

established in Casey. It is available only to those with “standing to assert the third-party rights of a

woman or group of women seeking an abortion,” and it requires courts to evaluate the defense

through the narrowest lens possible—i.e., without reference to any effect the law may have on a

woman’s ability to “obtain[] support or assistance, financial or otherwise, from others in their effort

to obtain an abortion,” and without reference to any effect the law may have on “other defendants or

other potential defendants,” Tex. Health & Safety Code § 171.209(b), (d), even though courts evalu-

ating undue burden claims must consider the real-world, cumulative effects of the challenged state

law.7 Under S.B. 8’s undue burden defense, a provider thus must show that imposing liability against

it alone will impose an undue burden on a woman’s ability to obtain an abortion, without consideration

7
   See Casey, 505 U.S. at 877 (“A finding of an undue burden is a shorthand for the conclusion that a
state regulation has the purpose or effect of placing a substantial obstacle in the path of a woman seeking
an abortion of a nonviable fetus.” (emphasis added)); see also, e.g., Whole Woman’s Health v. Hellerstedt,
136 S. Ct. 2292, 2309, 2312-18 (2016) (evaluating significant evidence regarding the real-world effects
of the law, including on clinic closures and geographic availability); Gonzales v. Carhart, 550 U.S. 124,
164-65 (2007) (citing approvingly Planned Parenthood of Central Mo. v. Danforth, 428 U.S. 52, 77-79 (1976),
which “invalidated a ban on saline amniocentesis, the then-dominant second-trimester abortion
method,” because it was “an unreasonable or arbitrary regulation designed to inhibit, and having the
effect of inhibiting, the vast majority of abortions after the first 12 weeks” (emphasis added)).


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of the impact of liability or the threat of liability against other providers. Id. But that standard will

likely be impossible to meet in most cases, having the effect of depriving women of the right to obtain

a pre-viability abortion. Indeed, in enacting a law so clearly at odds with binding judicial precedents,

Texas appears to have acted with the purpose of infringing women’s constitutional rights. That alone

renders the law invalid. See Casey, 505 U.S. at 878 (plurality op.) (“An undue burden exists, and there-

fore a provision of law is invalid, if its purpose or effect is to place a substantial obstacle in the path

of a woman seeking an abortion before the fetus attains viability.”). Accordingly, the affirmative de-

fense does not cure S.B. 8’s flaws; the Act plainly and facially violates the Fourteenth Amendment and
the Supremacy Clause and its enforcement should be enjoined.

                 2. As Applied to Programs of the Federal Government, S.B. 8 Violates Princi-
                    ples of Preemption and Intergovernmental Immunity.
        Even apart from S.B. 8’s direct conflict with the Fourteenth Amendment, the Act further vi-

olates the Supremacy Clause by impermissibly purporting to regulate the Federal Government’s activ-

ities and posing an obstacle to the accomplishment of federal objectives under these programs. That

interference occurs across a number of federal contexts, and renders S.B. 8 invalid under the Suprem-

acy Clause.

        Under the doctrine of conflict preemption, “state laws are preempted when they conflict with

federal law.” Arizona v. United States, 567 U.S. 387, 399 (2012). The preemption doctrine “includes

cases where ‘compliance with both federal and state regulations is a physical impossibility,’ and those

instances where the challenged state law ‘stands as an obstacle to the accomplishment and execution
of the full purposes and objectives of Congress.’” Id. Additionally, under the doctrine of intergov-

ernmental immunity, States can neither “control the operations of the constitutional laws enacted by

Congress” nor directly impede the Executive Branch’s “execution of those laws.” Trump v. Vance, 140

S. Ct. 2412, 2425 (2020); see also Mayo, 319 U.S. at 445; Arizona v. California, 283 U.S. 423, 451 (1931)

(“The United States may perform its functions without conforming to the police regulations of a

state.”). They accordingly cannot impose civil or criminal liability on federal officials for carrying out

their federal duties. See In re Neagle, 135 U.S. 1 (1890); see also, e.g., Denson v. United States, 574 F.3d 1318,



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1346-48 (11th Cir. 2009); Wyoming v. Livingston, 443 F.3d 1211, 1213 (10th Cir. 2006). Nor can they

regulate the performance of the Federal Government by regulating its contractors. See Goodyear Atomic

Corp. v. Miller, 486 U.S. 174, 181 (1988) (“[A] federally owned facility performing a federal function is

shielded from direct state regulation, even though the federal function is carried out by a private con-

tractor, unless Congress clearly authorizes such regulation.”); United States v. California, 921 F.3d 865,

882 n.7 (9th Cir. 2019) (“For purposes of intergovernmental immunity, federal contractors are treated

the same as the federal government itself.”), cert. denied, 141 S. Ct. 124 (2020); Boeing Co. v. Movassaghi,

768 F.3d 832, 840 (9th Cir. 2014) (holding unconstitutional a state law that “directly interfere[d] with
the functions of the federal government” by “mandat[ing] the ways in which [a contractor] renders

services that the federal government hired [it] to perform”).

        S.B. 8 interferes with the accomplishment of federal objectives and impermissibly regulates

the Federal Government in several ways. First, S.B. 8 purports to prohibit federal personnel and

contractors from carrying out their federal obligations to assist in providing access to abortion-related

services to persons in the care and custody of federal agencies and to impose damages liability on

them. For example, to allow federal inmates to exercise their constitutional rights, Federal Bureau of

Prison (“BOP”) regulations provide that a BOP prison’s Clinical Director “shall arrange for an abor-

tion to take place” after a pregnant inmate signs a statement choosing an elective abortion. 28 C.F.R.

§ 551.23(c) (emphasis added). BOP also bears certain costs when it facilitates an inmate’s decision to

have an abortion; for example, BOP “assumes all costs” “in the case of rape or incest.” Decl. of Alix

McLearen, Ph.D. (Ex. 9) (“McLearen Decl.”) ¶¶ 8-13. And “[i]n all cases[,] . . . whether the [BOP]
pays for the abortion or not, the [BOP] may expend funds to escort the inmate to a facility outside

the institution to receive” an abortion procedure. 28 C.F.R. § 551.23(c); see also McLearen Decl. ¶¶ 8-

13 (explaining BOP’s policies concerning abortion for inmates). S.B. 8, however, threatens civil lia-

bility on persons who aid or abet the performance of an abortion, including those who “pay[] for or

reimburs[e] the costs of an abortion,” regardless of whether the abortion is the result of rape or incest.

Tex. Health & Safety Code § 171.208(a)(2); see also id. § 171.208(j) (providing only that civil actions

“may not be brought by a person who impregnated the abortion patient through an act of rape, sexual


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assault, incest, or” other prohibited acts (emphasis added)). The law thus “disrupts the performance

of required duties of BOP staff” by, among other operational disruptions, likely “creat[ing] confusion

among BOP staff employed in Texas to whether they can follow established BOP policy.” McLearen

Decl. ¶ 15 (further explaining S.B. 8 “may also create fear of personal liability for complying with

established BOP rules and policy, undermining BOP staff’s performance of their duties and respon-

sibilities”). By purporting to impose civil liability on BOP personnel for performing their federal

duties, S.B. 8 violates the Supremacy Clause. See Ohio v. Thomas, 173 U.S. 276, 283 (1899) (“[F]ederal

officers who are discharging their duties in a state . . . are not subject to the jurisdiction of the state in
regard to those very matters of administration which are thus approved by federal authority.”); United

States v. City of Arcata, 629 F.3d 986, 991 (9th Cir. 2010) (“By constraining the conduct of federal agents

and employees, the ordinances seek to regulate the government directly.”); cf. Neagle, 135 U.S. at 76

(deputy U.S. marshal “acting under the authority of the law of the United States” was “not liable to

answer in the courts of California” for acts taken under that authority).8 S.B. 8 is accordingly

preempted insofar as it would prohibit the furnishing of such assistance by BOP personnel.

        The United States Marshals Service (“USMS”), which is responsible for the pretrial detainment

of inmates, is similarly situated to BOP. See generally Decl. of John Sheehan (Ex. 10). Like BOP

inmates, individuals in USMS custody may elect to have an abortion under the agency’s policy direc-

tives. Id. ¶ 7. In cases of rape or incest, or where the pregnancy could endanger the life of the mother,

USMS policy requires the agency to pay for the procedure after certain requirements are met. Id. ¶¶ 8-

9. Where an inmate elects to have an abortion, USMS arranges transportation and guard services to

move the inmate to and from the location for the procedure. Id. ¶ 11. S.B. 8 therefore purports to


8
  Texas’s jurisdictional tactics, see Part I.B, infra, likewise cannot defeat preemption. Regardless of the
likelihood of a person bringing an enforcement action against BOP or its employees, the dispositive
point is that S.B. 8 purports to impose a duty on BOP and its employees not to facilitate, or provide
reimbursement for, almost all abortions after six weeks, and that duty itself conflicts with BOP regu-
lations and policy. See Geier v. Am. Honda Motor Co., 529 U.S. 861, 882 (2000) (“[T]his Court’s pre-
emption cases do not ordinarily turn on . . . how likely it is that state law actually would be enforced.
Rather, this Court’s pre-emption cases ordinarily assume compliance with the state-law duty in ques-
tion.” (emphasis omitted)).


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impose civil liability on USMS staff for performing duties similar to their BOP colleagues, with similar

attending disruptions to USMS operations. Id. ¶¶ 13-19.

        Military service members similarly have a statutory entitlement to medical care, including abor-

tion services at military medical treatment facilities (“MTFs”) in cases where the mother’s life would

be endangered by carrying the fetus to term or in instances of rape or incest. 10 U.S.C. §§ 1074;

1093(a). S.B. 8 purports to impede the Department of Defense’s (“DoD”) implementation of its

statutory obligation to provide such medical services to service members by outlawing pre-viability

abortions after a fetal heartbeat is detected in the case of rape or incest, and by threatening civil liability
against DoD personnel involved in providing such services.

        Also, the Department of Health and Human Services’ Office of Refugee Resettlement

(“ORR”) is statutorily obligated to care for certain unaccompanied noncitizen children, who are de-

fined by statute as individuals without lawful immigration status under the age of 18 without a parent

or legal guardian in the United States who is available to provide care and physical custody. These

individuals are in the legal custody of the United States. See 6 U.S.C. § 279(b)(1), (g)(2); see also 8 U.S.C.

§ 1232(b)(1). This population includes tender-aged children, pregnant and parenting teens, and youth

who have been trafficked. Decl. of James De La Cruz (Ex. 11) (“De La Cruz Decl.”) ¶ 7. The D.C.

Circuit has already held that minors in ORR custody cannot be obstructed in exercising their consti-

tutional right to access abortion and abortion-related services. See J.D. v. Azar, 925 F.3d 1291, 1337

(D.C. Cir. 2019). Consistent with its obligations to provide care for the unaccompanied children in

its custody in Texas and to allow them to exercise their constitutional rights, ORR must provide access
to abortion services when requested and permitted by law, including in cases of rape or incest, follow-

ing judicial bypass procedures or parental consent, and subject to appropriations restrictions on paying

for certain abortions. De La Cruz Decl. ¶ 12. S.B. 8 erects a manifestly unconstitutional restriction

on access to pre-viability abortion for unaccompanied minors in ORR custody and purports to regu-

late ORR’s administration of a federal program by, in effect, requiring ORR to move unaccompanied

children out of Texas in order to make available abortion services that are required under federal law.

De La Cruz Decl. ¶ 18.


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        Second, S.B. 8 interferes with federal directives to third-party providers who are contractually

obligated to provide abortion-related services. For example, the Department of Labor’s (“DOL”) Job

Corps is a program funded by Congress and administered by DOL that assists eligible young people

ages 16 through 24 with completing their high school education, preparing for meaningful careers,

and obtaining gainful employment. See 29 U.S.C. § 3191(1). This assistance is provided through Job

Corps centers, which are primarily operated by private contractors that have contractual relationships

with DOL. Id. § 3197(a), (d); Decl. of Patrice Rachel Torres (Ex. 12) (“Torres Decl.”) ¶¶ 5, 9.

        All Job Corps contractors are required to comply with the requirements of the Job Corps
Policy and Requirements Handbook (“PRH”), which was “developed to include all mandatory pro-

gram operation and reporting requirements in one document.” Decl. of Jillian Matz (Ex. 13) (“Matz

Decl.”) ¶ 6; see also Torres Decl. ¶ 11. The PRH requires contractors to offer enrollees a family plan-

ning program that includes counseling and information about options to terminate a pregnancy, as

well as to provide transportation for purposes of obtaining an abortion. Torres Decl. ¶¶ 12-15. Each

of DOL’s contracts with the operators of the Texas Job Corps centers incorporates the PRH’s re-

quirements by reference. Matz Decl. ¶¶ 6-7. In light of S.B. 8, compliance with these contractual

terms will require DOL’s Texas contractors to expose themselves to civil liability or to incur expenses

that will ultimately be passed on to DOL. See id. ¶¶ 11-13. S.B. 8 thus interferes with the ability of

DOL’s contractors to carry out DOL directives by purporting to prohibit the provision of such con-

tracted services and to impose liability on the contractors and their personnel providing those services.

        S.B. 8 similarly burdens the operations of the Office of Personnel Management (“OPM”).

OPM is responsible for negotiating and approving the health benefits plans made available to federal

employees, annuitants, and certain other statutorily eligible employees. Each year, OPM negotiates

and contracts with qualified carriers to establish a slate of health benefits plan options from which

federal employees may select. See 5 U.S.C § 8902; Decl. of Laurie Bodenheimer (Ex. 14) (“Bodenhei-

mer Decl.”) ¶ 3. OPM has entered into contracts with qualified carriers that cover abortion procedures

in permitted circumstances, such as when the pregnancy is the result of an act of rape or incest. Bo-

denheimer Decl. ¶ 5; Consolidated Appropriations Act, 2021, PL 116-260, 134 Stat 1182 §§ 613-14


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(Decl. 27, 2020) (incorporating Hyde Amendment restrictions). S.B. 8 interferes with these federal

functions by purporting to impose liability on any Federal Employees Health Benefits Program health

plan that covers the cost of an abortion in Texas. See S.B. 8 § 171.208(a)(2) (creating liability for

“paying for or reimbursing the costs of an abortion through insurance or otherwise”). Due to S.B. 8,

carriers may breach the terms of their agreed-upon health benefit plans and refuse to provide reim-

bursement for abortions performed in Texas. See Bodenheimer Decl. ¶¶ 9-12. Further, “S.B. 8 may

also impact OPM’s negotiations with carriers regarding health benefits to be provided in future years”

since “[c]arriers may refuse to continue to cover abortion services that they determine conflict with
S.B. 8,” materially “interfer[ing] with OPM’s statutory duty and discretion to approve plans containing

terms that OPM finds to be necessary and desirable in FEHB plan contracts.”9 Id. ¶ 14.

        Finally, S.B. 8 also violates statutory and regulatory provisions applicable to the Medicaid pro-

gram in Texas, which is a cooperative state-federal program federally administered by Centers for

Medicare & Medicaid Services (“CMS”). States that participate in the Medicaid program must cover

various medically necessary procedures that fall within certain service categories such as inpatient and

outpatient hospital services (as specified in 42 U.S.C. § 1396d(a)(1) and (a)(2)) and physician services

(as specified in 42 U.S.C. § 1396d(a)(5)(A)). 42 U.S.C. § 1396a(a)(10)(A). “Abortions that are neces-

sary to save the life of a pregnant person, or resulting from rape or incest,” may fall within the scope

of procedures that may be medically necessary and covered by the mandatory service categories under

this statute and optional service categories covered under the Texas state plan. Decl. of Anne Marie

Costello (Ex. 15) (“Costello Decl.”) ¶ 9. In accord with Medicaid coverage requirements, the Fifth

Circuit has held that States may not categorically prohibit the coverage of medically necessary abortion

services for which federal funds are permitted to be expended, including medically necessary abortions

of pregnancies arising from rape or incest. See Hope Med. Grp. for Women v. Edwards, 63 F.3d 418, 428

(5th Cir. 1995) (holding Louisiana statute that “categorically prohibits funding for abortions in cases

9
  5 U.S.C. § 8902(m) expressly notes that “[t]he terms of any contract” negotiated by OPM and a
carrier “which relate to the nature, provision, or extent of coverage or benefits (including payments
with respect to benefits) shall supersede and preempt any State or local law, or any regulation issued
thereunder, which relates to health insurance or plans.”


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of rape or incest without regard to whether the procedures might be medically necessary” violated

Title XIX of the Social Security Act). Although States may specify the amount, duration, and scope

of each covered service, they may not “arbitrarily deny or reduce the amount, duration, or scope of a

required service . . . solely because of the diagnosis, type of illness, or condition,” and each service

must be covered so as to “reasonably achieve its purpose.” 42 C.F.R. § 440.230(a), (b), (c). S.B. 8

conflicts with these provisions of federal law by prohibiting payment by Medicaid for all abortions in

Texas arising from rape or incest after fetal cardiac activity is detected. The statute arbitrarily denies

Medicaid beneficiaries coverage for a procedure for which Medicaid coverage is available under man-
datory service categories and optional service categories covered in the State, and the limits imposed

by the statute restrict coverage to the extent that the State’s coverage of these service categories is not

sufficient to reasonably achieve the service’s purpose. Costello Decl. ¶ 14.
        B. This Suit Is a Proper Means by Which to Challenge S.B. 8, Given Texas’s At-
           tempt to Foreclose Other Means of Judicial Review.
        Texas’s primary tactic in the related litigation pending before the Fifth Circuit has been not to

defend S.B. 8 on the merits but instead to contend that lawsuits filed to challenge the Act are proce-

durally flawed, principally arguing that the Ex parte Young exception to sovereign immunity is unavail-

able given S.B. 8’s novel enforcement scheme. That asserted procedural flaw is not implicated in this

lawsuit, however, which is filed by the United States, and thus is not subject to the same jurisdictional

hurdles that have thus far impeded other litigants. As explained below, the United States has the

authority to sue the State of Texas, the State is a proper defendant against whom to seek relief, and

this Court can enjoin Texas from enforcing S.B. 8 and thereby redress the United States’ injuries.

                1. The United States Has Authority to Bring This Suit.
        It is well established that the United States may seek equitable relief to protect federal interests,

including injuries to its sovereignty. The Supreme Court has consistently applied this principle, in-

cluding in In re Debs, 158 U.S. 564 (1895), in which the Court recognized that the United States had

authority to seek an injunction against the Pullman rail strike. The Court explained that “[e]very gov-




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ernment, entrusted by the very terms of its being with powers and duties to be exercised and dis-

charged for the general welfare, has a right to apply to its own courts for any proper assistance in the

exercise of the one and the discharge of the other, and it is no sufficient answer to its appeal to one

of those courts that it has no pecuniary interest in the matter.” Id. at 584; see also, e.g., Wyandotte Transp.

Co. v. United States, 389 U.S. 191, 201 (1967) (“Our decisions have established, too, the general rule

that the United States may sue to protect its interests.”). The Supreme Court has repeatedly recog-

nized the authority of the United States, even without an express statutory cause of action, to seek

equitable relief to vindicate various federal interests and constitutional guarantees, including to allevi-
ate burdens on interstate commerce, Debs, 158 U.S. at 584; protect the public from fraudulent patents,

United States v. American Bell Tel. Co., 128 U.S. 315 (1888); protect Indian tribes, Heckman v. United States,

224 U.S. 413 (1912); carry out the Nation’s treaty obligations, Sanitary Dist. of Chicago v. United States,

266 U.S. 405, 426 (1925); and challenge state measures that interfere with an agency’s administration

of federal law, Arizona, 567 U.S. at 405.

        The Fifth Circuit recognized the same authority to protect federal interests in United States v.

City of Jackson, 318 F.2d 1 (5th Cir. 1963), holding that the United States could challenge racial segre-

gation that burdened interstate commerce. Id. at 14-17. The Fifth Circuit reasoned that “[w]hen a

State, not by some sporadic act against a particular individual but by a law or pattern of conduct, takes

action motivated by a policy which collides with national policy as embodied in the Constitution, the

interests of the United States ‘to promote the interest of all’ gives it standing to challenge the State in

the courts.” Id. at 14.
        In the last decade alone, the United States has brought numerous cases for equitable relief to

protect interests of the federal government, notwithstanding the absence of express statutory authority

to do so. See, e.g., Arizona, 567 U.S. 387; United States v. State Water Res. Control Bd., 988 F.3d 1194 (9th

Cir. 2021); United States v. Washington, 971 F.3d 856 (9th Cir. 2020), as amended, 994 F.3d 994 (9th Cir.

2020); United States v. California, 921 F.3d 865, 876 (9th Cir. 2019), cert. denied, 141 S. Ct. 124 (2020);

United States v. Bd. of Cnty. Comm’rs of Cnty. of Otero, 843 F.3d 1208 (10th Cir. 2016); United States v. South

Carolina, 720 F.3d 518, 524 (4th Cir. 2013); United States v. Alabama, 691 F.3d 1269, 1279 (11th Cir.


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2012); United States v. City of Arcata, 629 F.3d 986, 988 (9th Cir. 2010).10 That is in keeping with the

“maxim of equity stat[ing] that ‘[e]quity suffers not a right to be without a remedy.’” CIGNA Corp. v.

Amara, 563 U.S. 421, 440 (2011) (quoting R. Francis, Maxims of Equity 29 (1st Am. ed. 1823)). The

Supreme Court has therefore recognized that equity will provide a cause of action where no adequate

remedy at law exists. See, e.g., Paine Lumber Co. v. Neal, 244 U.S. 459, 476-77 (1917) (“where a threatened

infringement” of a constitutional right “will produce injury and damage for which the law can afford

no remedy . . . resort may be had to equity; and when this does appear, the right to an injunction arises

because that is the only appropriate relief”); Watson v. Sutherland, 72 U.S. 74, 79 (1866) (“The absence

of a plain and adequate remedy at law affords the only test of equity jurisdiction, and the application

of this principle to a particular case, must depend altogether upon the character of the case.”).

        Applying the foregoing principles, the United States has the authority to sue here. This litiga-

tion implicates numerous federal interests, which support the authority of the United States to seek

equitable relief in this Court.

        A suit by the United States in equity is appropriate based on the extraordinary facts of this

case because Texas has sought to inhibit other pathways for federal judicial review of an enactment

that clearly violates the constitutional rights of its citizens, thereby depriving individuals of an adequate

and effective remedy at law. To begin, S.B. 8 is an extraordinary and unprecedented attempt to evade

a State’s obligation to respect the Fourteenth Amendment through the mechanisms established by

Congress. Texas has enacted a law that indisputably violates individuals’ constitutional rights, and has

simultaneously structured that law to prevent the very individuals it injures from vindicating their

rights through the established process of federal judicial review. In particular, the law appears tailor-

made to evade 42 U.S.C. § 1983, which Congress enacted to “ensure” that individuals could turn to

the federal courts to secure relief—including the equitable remedy of an injunction—against violations

10
   See also United States v. Texas, 2021 WL 3362598 (W.D. Tex. Aug. 3, 2021); United States v. New Jersey,
2021 WL 252270 (D.N.J. Jan. 26, 2021); GEO Grp., Inc. v. Newsom, 493 F. Supp. 3d 905, 916 (S.D. Cal.
2020), appeal filed, No. 20-56172 (9th Cir. Nov. 6, 2020); United States v. King Cnty., 2020 WL 2745745,
at *1 (W.D. Wash. May 27, 2020); United States v. California, 2018 WL 5780003 (E.D. Cal. Nov. 1, 2018);
United States v. Kernen Constr., 349 F. Supp. 3d 988 (E.D. Cal. 2018); U.S. Postal Serv. v. City of Berkeley,
2018 WL 2188853 (N.D. Cal. May 14, 2018).


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of federal constitutional rights committed under color of state law. Burnett v. Grattan, 468 U.S. 42, 55

(1984). Section 1983 “assign[s] to the federal courts a paramount role in protecting constitutional

rights.” Patsy v. Board of Regents, 457 U.S. 496, 503 (1982); see Mitchum v. Foster, 407 U.S. 225, 241 (1972).

And that statute provides a mechanism for judicial review before individuals expose themselves to lia-

bility by violating an unconstitutional law. See Patsy, 457 U.S. at 504 (finding that Congress, in enacting

the precursor to § 1983, intended to “‘throw open the doors of the United States courts’ to individuals

who were threatened with . . . the deprivation of constitutional rights, and to provide these individuals

immediate access to the federal courts notwithstanding any provision of state law to the contrary” (em-
phasis added) (citation omitted)).

        S.B. 8 seeks to thwart the mechanisms established by Congress and to circumvent Texas’s

obligation to respect the federal constitutional right to abortion within its borders, by removing en-

forcement responsibility from state executive officials, who would ordinarily be enjoined under the

doctrine of Ex parte Young—and thus far, it has largely succeeded. See supra pp. 7-12. “The threatened

continuation” of this attempt by Texas to violate the Constitution and strip individuals of their rights

to challenge this law qualifies as “a special exigency, one which demand[s] that the courts should do

all that courts can do.” Debs, 158 U.S. at 579; see also Am. Life Ins. Co. v. Stewart, 300 U.S. 203, 215

(1937) (suit in equity appropriate where the right’s holder “had no remedy at law at all except at the

pleasure of an adversary”). The United States therefore brings this suit to vindicate its substantial

sovereign interest and duty to “take Care that the Laws be faithfully executed” by preventing States

from attempting to insulate their flagrant violations of the Constitution from judicial review. See U.S.
Const. art. II, § 3; see also Cooper v. Aaron, 358 U.S. 1, 17 (1958) (“constitutional rights . . . can neither

be nullified openly and directly by state legislators or state executive or judicial officers, nor nullified

indirectly by them through evasive schemes . . . whether attempted ingeniously or ingenuously”).

        The unique circumstances presented here—including, most notably, S.B. 8’s deliberate at-

tempt to thwart ordinary mechanisms of federal judicial review through a congressionally conferred

cause of action—distinguish this case from past cases where courts have held that the mere fact that

federal constitutional rights are being violated does not necessarily authorize the United States to sue.


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See, e.g., United States v. City of Philadelphia, 644 F.2d 187, 201 (3d Cir. 1980); United States v. Solomon, 563

F.2d 1121, 1123 (4th Cir. 1977). There is no need for this court to consider whether the United States

can sue to enjoin other state conduct that violates individuals’ constitutional rights. It is sufficient for

this case simply to recognize that the United States can sue to enjoin state conduct where the state

law’s substantive prohibition exceeds the State’s constitutional authority, the law has widespread im-

pact, and the State has additionally designed its laws in order to preclude the ability of the persons

whose rights it is violating—here, pregnant individuals—to prevent the State from depriving them of

their rights, including through the ordinary mechanism of relief in federal court. Cf. Legal Servs. Corp.
v. Velazquez, 531 U.S. 533, 548 (2001) (courts “must be vigilant when Congress imposes rules and

conditions which in effect insulate its own laws from legitimate judicial challenge”). S.B. 8 seeks to

absolve the State of responsibility for the statute’s effects and enforcement, while at the same time

seeking to deter the exercise of constitutionally protected conduct by deputizing enforcement author-

ity to private persons throughout the United States who need not have any personal connection to

the conduct, but who are deliberatively incentivized to sue by a bounty of at least $10,000 per abortion.

And the State’s singling out of this core federal constitutional right and simultaneous effort to obstruct

access to a federal forum and remedy presents circumstances far different from City of Philadelphia. Cf.

Testa v. Katt, 330 U.S. 386, 394 (1947); Knick v. Township of Scott, 139 S. Ct. 2162, 2169-70 (2019). Where,

as here, systemic constitutional violations implicate distinctly federal interests, the United States may

seek to prevent the constitutional violations on behalf of the “public at large,” see Debs, 158 U.S. at

564, 583-85, to protect the integrity of our constitutional structure and to provide for review and relief
in a federal court that Congress provided but that Texas has effectively denied to the persons whose

rights are violated.

        Moreover, the United States has an interest because Texas’s violation of constitutional rights

interferes with interstate commerce. See City of Jackson, 318 F.2d at 14 (“When the action of a State

violative of the Fourteenth Amendment conflicts with the Commerce Clause and casts more than a

shadow on the Supremacy Clause, the United States has a duty to protect the ‘interests of all’. The

courts offer the first avenue for counter-action by the Nation.”); see also Debs, 158 U.S. at 583-84.


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Here, S.B. 8 undoubtedly interferes with interstate commerce. S.B. 8 purports to impose liability on

persons anywhere in the nation who aid or abet (or even intend to aid or abet) the provision of an

abortion in Texas. Texas thereby impermissibly burdens the interstate commercial activities of, e.g.,

out-of-state insurance companies that provide reimbursement for prohibited abortions in Texas,

banks that may process the payment of such reimbursements, and the sellers of medical devices used

to carry out abortion procedures. Compl. ECF No. 1, ¶ 40. Prohibiting nearly all abortions after six

weeks in Texas also drives women to providers in other states (including some women who would

have traveled into Texas from elsewhere), overburdening out-of-state clinics and creating backlogs for
residents of other states seeking care. See infra pp. 10-11. That a regulation of abortion may implicate

interstate commerce has already been recognized by Congress, as when it relied on the Commerce

Clause to pass the ban on “partial-birth abortions.” See 18 U.S.C. § 1531(a) (restricting the provision

of such procedures “in or affecting interstate or foreign commerce”).

        The United States’ authority to bring this suit is also independently grounded in other specific

federal interests. For example, Texas’s violations are distinctly felt by individuals in the United States’

care and custody, such as unaccompanied children in the custody of ORR and individuals incarcerated

within the Bureau of Prisons. “[T]he United States” has “a real and direct interest in [a] matter” that

“arises out of its guardianship” over certain persons whose rights are at stake and who are “entitled

to [the United States’] aid and protection.” United States v. Minnesota, 270 U.S. 181, 194 (1926). In

these circumstances, the United States has a “right to invoke the aid of a court of equity [to] remov[e]

unlawful obstacles to the fulfillment of its obligations.” Id. Here, as explained above, the United
States is responsible for the protection of unaccompanied minors in ORR’s custody and persons in

BOP and USMS custody, and so the United States may bring suit to challenge “unlawful” deprivations

of those individuals’ constitutional rights. In the absence of judicial relief from this Court, the estab-

lished Fourteenth Amendment rights of these various populations within the United States’ care and

custody may be violated.




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        Finally, independent of all of the considerations discussed above, the United States may seek

equitable relief because, as already demonstrated, S.B. 8 concretely interferes with the Federal Gov-

ernment’s activities. See Moe v. Confederated Salish & Kootenai Tribes of Flathead Rsrv., 425 U.S. 463, 474

n.13 (1976) (recognizing that the United States has standing to bring preemption claims); cf. Arizona,

567 U.S. at 405. As explained above, the Federal Government possesses various legal authorities and

obligations to facilitate or fund certain pre-viability abortions, which are now proscribed by S.B. 8. See

supra pp. 16-22. Thus, there is a credible threat of an enforcement action being brought based on the

federal government’s activities—i.e., by any one of the millions of individuals Texas has deputized
with authority to bring such actions. Cf. City of Arcata, 629 F.3d at 989 (holding that the United States

had Article III standing to challenge municipal ordinances because “[t]he ordinances, which are en-

forced by civil penalties, proscribe some activity encouraged by federal law”). Texas can hardly dispute

that a credible threat of enforcement exists, as that is the very point of S.B. 8—to enable and encour-

age such enforcement actions, and to coerce compliance based on the threat of such enforcement

proceedings. Cf. Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289, 302 (1979) (credible threat

exists unless fear of prosecution is “imaginary or wholly speculative”).

        Thus, the United States has authority to bring this equitable suit against Texas for its violations

of the Constitution and interference with the administration of federal programs.11

                2. Texas is a Proper Defendant and Relief Against It Will Redress the United
                   States’ Injury.
        The State of Texas is also a proper defendant against whom to bring this action, notwithstand-

ing the State’s efforts to avoid review through S.B. 8’s unprecedented enforcement mechanism.

        As a threshold matter, Texas is not shielded from this suit by sovereign immunity. Unlike in

suits brought by private individuals, state sovereign immunity does not apply to suits for injunctive

relief brought by the United States against a State. See Alden v. Maine, 527 U.S. 706, 755 (1999) (“In




11
  The United States has suffered injury-in-fact sufficient to support Article III standing for the rea-
sons set forth above. See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016).


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ratifying the Constitution, the States consented to suits brought . . . by the Federal Government.”);

United States v. Mississippi, 380 U.S. 128, 140 (1965).

        Texas also doubtless causes the injuries that the United States now seeks to remedy. The State

of Texas enacted S.B. 8 and continues to authorize individuals to file suit under its auspices to enforce

that law. See Skinner v. Ry. Labor Executives’ Ass’n, 489 U.S. 602, 615-16 (1989) (finding state action

where the government removed “all legal barriers” to private conduct at issue and “made plain . . . its

strong preference” that private parties engaged in the conduct).

        Moreover, the United States’ injuries are redressable by this Court through relief issued against
the State of Texas. Equitable relief entered against a State may be enforced against whichever “gov-

ernmental power” and agencies of the State may be needed to vindicate the judgment. See Virginia v.

West Virginia, 246 U.S. 565, 593-600 (1918). Here, Texas has entrusted the power of enforcing S.B. 8

to private parties, and they—acting on the State’s behalf—exercise that power through civil suits filed

in state court. Accordingly, to prevent Texas from implementing and enforcing its unconstitutional

scheme, this Court should any enjoin state court proceedings initiated under S.B. 8.

        The civil actions that S.B. 8 incentivizes are an appropriate target of injunctive relief. Although

the Anti-Injunction Act generally provides that “[a] court of the United States may not grant an in-

junction to stay proceedings in a State,” 28 U.S.C. § 2283, that rule “does not apply when the United

States seeks the injunction[.]” In re Grand Jury Subpoena, 866 F.3d 231, 233 (5th Cir. 2017). Federal

courts may therefore enjoin state court proceedings that the Constitution prohibits. See Dombrowski v.

Pfister, 380 U.S. 479, 485-86, 497 (1965) (where “defense of the State’s criminal prosecution will not
assure adequate vindication of constitutional rights” but, rather, would entail “a substantial loss or

impairment of freedoms of expression,” equitable relief restraining state prosecution is appropriate).

Here, it is appropriate for the United States to essentially “obtain[] a stay of state court proceedings”

where doing so would “prevent threatened irreparable injury to a national interest.” Leiter Minerals,

Inc. v. United States, 352 U.S. 220, 290-91 (1957). The Court could thus redress the United States’




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injuries by simply enjoining state-court proceedings to enforce S.B. 8.12 Alternatively, to the extent

the Court concludes that more specific relief is necessary or appropriate, it could craft injunctive relief

in one or more of three ways.

        First, the Court could enjoin any person who files suit under S.B. 8 from prosecuting his or

her claim. Here, an injunction against Texas can run to the individuals who file civil enforcement

actions because, at a minimum, those individuals would qualify as “persons who are in active concert

or participation with” the State. Fed. R. Civ. P. 65(d)(2)(C). The purpose of Rule 65 is to prevent

defendants from creating schemes to evade judicial review and enforcement by ensuring that injunc-

tive relief “not only binds the parties defendants but also those identified with them in interest, in

‘privity’ with them, represented by them or subject to their control.” See Regal Knitwear Co. v. N.L.R.B.,

324 U.S. 9, 14 (1945). This rule is based on the principle that “defendants may not nullify a decree by

carrying out prohibited acts through aiders and abettors, although they were not parties to the original

proceeding.” Id. Accordingly, an injunction may run against a nonparty that is in “‘privity’ with an

enjoined party,” including a “nonparty whose interests were represented adequately by a party in the

original suit.” Texas v. Dep’t of Labor, 929 F.3d 205, 211 (5th Cir. 2019).

        Individuals who bring suits under S.B. 8 meet that test. S.B. 8 vests those individuals with

law-enforcement authority, a traditionally exclusive state power, in a manner and to a degree that

appears to be “unprecedented,” Whole Woman’s Health v. Jackson, 2021 WL 3910722 at *1 (Roberts,

C.J., dissenting)—among other things, by giving them unsupervised authority to police violations of

the law, and by enabling them to obtain civil penalties against anyone in the state without any showing

of personal injury. Individuals suing under S.B. 8 are not suing “for violation of distinct legal duties

owed” to them as individuals, but instead are suing “for violation of legal duties owed the public.”

Texas v. Dep’t of Labor, 929 F.3d at 213. Moreover, unlike federal statutes such as Title VII and the




12
 For the reasons discussed herein, the United States meets the traceability and redressability ele-
ments of Article III standing. See Spokeo, 136 S. Ct. at 1547.



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Fair Labor Standards Act where the Fifth Circuit has deemed agencies not to be in privity with indi-

viduals, here S.B. 8 does not “authorize[] both government litigation and private actions” for violation

of distinct legal duties owed to each. See id. S.B. 8 instead authorizes only private litigation for the

vindication of injuries to the public at large, rather than any individual litigant.13 At bottom, Texas has

deputized enforcement of S.B. 8 to private parties in the hopes that they would be beyond the reach

of any pre-enforcement relief. Rule 65 does not permit such a result. Cf. United States v. Hall, 472 F.2d

261, 267-68 (5th Cir. 1972) (injunctions under Rule 65 can extend to private persons not party to the

suit when they are “in a position to upset the court’s adjudication” between the existing parties). The

application of an injunction to private persons who commence a suit under S.B. 8 is reinforced by the

proposition that in a proceeding brought against a State itself, the State is properly regarded as repre-

senting its citizens. Cf. New Jersey v. New York, 345 U.S. 369, 373 (1953) (recognizing “the principle

that the state, when a party to a suit involving a matter of sovereign interest, must be deemed to

represent all its citizens” (citation omitted)).

        Second, an injunction against the State—enjoining proceedings initiated under S.B. 8—could

specify that it runs to the state judiciary. It has “long been established by decisions of th[e] [Supreme]

Court” that “the action of state courts and of judicial officers in their official capacities is to be re-

garded as action of the State within the meaning of the Fourteenth Amendment.” Shelley v. Kraemer,


13
  Indeed, individuals who file suits under S.B. 8 are properly considered state actors—a result courts
have endorsed where a state sanctions or is significantly involved in conduct that would be unconsti-
tutional if engaged in by the state itself. See, e.g., Reitman v. Mulkey, 387 U.S. 369, 380-81 (1967) (finding
state action where law “authorize[d] . . . racial discrimination in the housing market”); Smith v. Allwright,
321 U.S. 649, 663-64 (1944) (state’s establishment of primary system made party that set up an all-
white primary “an agency of the state”); Nixon v. Condon, 286 U.S. 73 (1932) (state’s conferral of au-
thority to party committee to determine who may vote in primary created state action); Skinner, 489
U.S. at 615-16 (1989) (finding state action where the government removed “all legal barriers” to private
conduct at issue and “made plain . . . its strong preference” that private parties engaged in the con-
duct). Moreover, in light of the details of the S.B. 8 enforcement scheme outlined above, the individ-
uals who file suits under S.B. 8 should be considered “agents” of the State under Rule 65 and would
be subject to an injunction against the State on that basis, see Fed. R. Civ. P. 65(d)(2)(B). But this
Court does not need to decide whether such individuals are “agents” because the provision of Rule
65 covering individuals “in active concert or participation” with a party plainly applies here.



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334 U.S. 1, 14 (1948). And it also well established that “judicial immunity is not a bar to prospective

injunctive relief against a judicial officer acting in her judicial capacity.” Pulliam v. Allen, 466 U.S. 522,

541-42 (1984). Although relief against a judicial officer should be “reserved for really extraordinary

causes,” id. at 538, this case presents just such an extraordinary situation. Texas has established a

scheme to largely extinguish a constitutional right within its borders while purporting to prohibit any

executive official from enforcing that scheme, for the purpose of making it more difficult for individ-

uals to seek redress of the constitutional violation in federal court. Having attempted to ensure that

individuals whose rights are violated may not sue the state actors normally responsible for enforcing
state law, Texas cannot persuasively contend that state judges may not be enjoined from playing a role

in the State’s unconstitutional scheme.14

        Finally, an injunction prohibiting the State of Texas from enforcing S.B. 8 could also specify

that it enjoins all state employees and officers needed to administer civil actions regarding S.B. 8 or to

enforce judgments arising from those actions. Relief against the State could bind, for example, clerks

that would docket complaints seeking S.B. 8 damages, as well as officers of the State charged with

enforcing any money judgment pursuant to the statute.




14
   The United States recognizes that the Fifth Circuit recently decided in parallel litigation that the
plaintiffs could not pursue injunctive relief as to S.B. 8 against state court judges. Whole Women’s Health
v. Jackson, No. 21-50792, Dkt. 95, at 11-14 (5th Cir. Sept. 10, 2021) (per curiam). But neither of the
grounds for the Courts of Appeals’ decision apply here. First, the Fifth Circuit’s conclusion that
sovereign immunity protects Texas judges, id. at 11, is inapposite because as previously discussed,
actions for equitable relief by the United States are not limited by the State’s sovereign immunity.
Second, the Fifth Circuit’s conclusion in Whole Woman’s Health that no “actual controversy” exists as
to judicial officers because “judges are disinterested neutrals,” id. at 12, is also inapposite. The fact
that the judges are neutral and disinterested does not change the fact that they are the state officers
who oversee the proceedings that are the linchpin of Texas’ effort to deny (or unduly burden) women’s
exercise of their constitutional rights. Moreover, there is certainly an “actual controversy” here be-
tween the United States and Texas, which enacted S.B. 8 and has encouraged lawsuits pursuant to it.
Even if a suit directly against a judge could not proceed, this is a suit against Texas, including its
officers, employees, and agents. And, as noted, injunctive relief may run against state court judges in
“extraordinary causes” Pulliam, 466 U.S. at 538, such as this one, where the United States seeks to
protect its federal interest in preventing States from skirting the obligations of our National compact
by attempting to preclude pre-enforcement review of a blatantly unconstitutional law.”


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        For all of these reasons, the United States has authority to bring this suit, and has demon-

strated a likelihood of success that S.B. 8 is unconstitutional and should be enjoined.
      II.     THE GOVERNMENT FACES IRREPARABLE HARM
      As the Supreme Court and other courts have long established, irreparable harm results from the

enforcement of a state law that violates the Constitution. See New Orleans Pub. Serv., Inc. v. Council of

City of New Orleans, 491 U.S. 350, 366-67 (1989) (assuming that irreparable injury may be established

“by a showing that the challenged state statute is flagrantly and patently violative of . . . the express

constitutional prescription of the Supremacy Clause”) (citation and internal quotation marks omitted);

United States v. Arizona, 641 F.3d 339, 366 (9th Cir. 2011) (“We have ‘stated that an alleged constitu-
tional infringement will often alone constitute irreparable harm.’”); City of El Cenizo v. Texas, 264 F.

Supp. 3d 744, 809 (W.D. Tex. 2017) (noting that “[f]ederal courts at all levels have recognized that a

violation of constitutional rights constitutes irreparable harm as a matter of law and no further show-

ing of irreparable injury is necessary” (citing cases)). Indeed, Texas recently “conceded that the United

States has suffered per se irreparable harm” where a Texas state law violated the Supremacy Clause

and Texas failed to contest that a violation constitutes per se irreparable harm. United States v. Texas,

No. 3:21-cv-173-KC, ECF No. 52, at 15 (W.D. Tex. Aug. 26, 2021) (noting Texas failed to contest

that a violation constitutes per se irreparable harm). As already demonstrated above, S.B. 8 deprives

women in Texas of their constitutional rights while presently preventing them from vindicating those

rights in court, in clear violation of the Fourteenth Amendment and the Supremacy Clause. The Act

harms the United States’ interest in ensuring that States do not evade their obligations under the Con-
stitution and then try to insulate their actions from judicial review, as well as its interest in protecting

the constitutional rights of women in its care and custody. To allow States to circumvent the Federal

Constitution in this manner would offend the basic federal nature of the Union. Thus, the unconsti-

tutionality of S.B. 8 alone suffices to establish irreparable harm.

        In addition, S.B. 8 also irreparably injures the United States by restricting the operations and

responsibilities of the Federal Government. As discussed above, S.B. 8 conflicts with programs and

activities administered by numerous federal agencies, including BOP, USMS, DOD, ORR, DOL,


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OPM, and CMS and interferes with the Federal Government’s ability to provide access to, assistance

for, or funding for abortions in instances required or permitted by federal law, such as in the case of

rape or incest. S.B. 8 would thus significantly impede the Federal Government’s ability to fulfill its

responsibilities and authorities under Federal law.

III.    THE BALANCE OF EQUITIES TIP IN FAVOR OF AN INJUNCTION

        The final two factors—the balance of equities and the public interest—merge where the fed-

eral government is a party. Nken v. Holder, 556 U.S. 418, 435 (2009); see also Pursuing Am.’s Greatness v.

Fed. Election Comm’n, 831 F.3d 500, 511 (D.C. Cir. 2016) (Government’s “harm and the public interest
are one and the same, because the government’s interest is the public interest”). Here, these factors

manifestly favor the United States. The United States has a strong and legitimate interest in ensuring

that states respect their obligations under the Constitution, and in fulfilling the United States’ respon-

sibilities under Federal law. If Texas’s attempt to nullify the Constitution of the United States prevails,

it may become a model for action in other areas, by other states, and with respect to other constitu-

tional rights and judicial precedents.

        In contrast, Texas will not suffer any cognizable harm from an injunction. The clear purpose

and effect of S.B. 8 is to deny women rights guaranteed to them by the U.S. Constitution, while at-

tempting to evade judicial review. Texas plainly lacks any legitimate interest in that impermissible

objective, and it has no valid interest in insulating its unconstitutional laws from judicial review. See

Velazquez, 531 U.S. at 545. An injunction, therefore, would serve the public interest by not only

protecting constitutional rights but also by advancing the rule of law. In sum, the balance of the
equities and the public interest tilt decidedly in favor of enjoining S.B. 8.

IV.     SCOPE OF RELIEF

        This Court should temporarily or preliminarily enjoin enforcement of S.B. 8. The United

States requests that this injunction prohibit the maintenance of any civil proceeding pursuant to S.B.

8 and that it bind all of Texas’s officers, employees, and agents, as well as those persons in active

concert or participation with them. See Fed. R. Civ. P. 65(d)(2). For the reasons stated above, the

Court could further specify the scope of that relief, including by expressly stating that it applies to


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private individuals who attempt to initiate enforcement proceedings under S.B. 8. Of course, Texas

is also free to propose the specific terms of an injunction that would prevent proceedings filed under

S.B. 8 from being maintained. Texas is responsible for crafting S.B. 8, and it is therefore well posi-

tioned to shed light on the provisions of an injunction that would prevent the State from implementing

its unconstitutional scheme.

        Finally, in any injunction it issues, the Court should require the State of Texas to take affirm-

ative steps to provide individuals who seek to bring actions under S.B. 8 with actual notice of the

injunction—such as by requiring Texas to post the injunction on court websites and inform all state
court judges and judicial employees about the injunction. There is no unfairness in requiring the State

of Texas to undertake these acts to provide sufficient notice of the injunction, given that it was the

State of Texas itself that chose to delegate its public enforcement authority to the citizenry at large.

                                           CONCLUSION

        For these reasons, the Court should temporarily or preliminarily enjoin enforcement of S.B. 8.




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Date: September 14, 2021                   Respectfully submitted,

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                                 CERTIFICATE OF CONFERENCE

          I certify that I conferred via email with counsel for the State of Texas regarding the relief

requested in this application. Counsel for the State indicated that the State is opposed to the requested

relief.

                                                                   /s/ Lisa Newman
                                                                   Lisa Newman



                                    CERTIFICATE OF SERVICE

          I certify that a copy of this filing was emailed to counsel for the State of Texas: Will Thompson,

Beth Klusmann, and Natalie Thompson at the Office of the Attorney General. I further certify that

parties will also be served pursuant to Rule 5(b) of the Federal Rules of Civil Procedure.

                                                                   /s/ Lisa Newman
                                                                   Lisa Newman
